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EXHIBIT B
             Case 1:22-cv-00024-AT Document 1-2 Filed 01/04/22 Page 2 of 3




From: Matt Hoots <mhoots@srtslaw.com>
Sent: Monday, December 7, 2020 6:07 PM
To: Gregory Smith <gsmith@srtslaw.com>; Steve Schaetzel <SSchaetzel@mcciplaw.com>
Subject: [EXTERNAL] Re: Hey man, Gregory Smith here (pleasure and biz)


Thanks, Greg. Steve, it’s a pleasure to e-meet you! Attached are copies of the original deposits
for copyright registrations VAU1-326-605 and VA2-084-616, both of which are owned by Scott
Fuss. Please let us know if your firm is involved with the representation of SweetWater for the
pending sale of the company.


Kind regards,
Matt


Matthew T. Hoots

 SMITH | TEMPEL
SMITH TEMPEL BLAHA LLC
1055 Prince Avenue
Athens, Georgia 30606
(706) 621-5773
https://url2.mailanyone.net/vl/7nFlkmPbA-0003ci-
5z&i=57elb682&c=vOobkvdHgl894jKp8sAA6ACdjPYZxE6HbTroIhpo4LKFlZPV
3 qKH-bNnDmf7mf67v7x4hM DAYigzNa-
8mqt4L09CWLiOlG9uqrgkb6VDhisBRN6tuTJD gz6P3dKdlnUJZ5rG4qI2oIQZ8Cd
7G0qIVLhsfqXdO6zJGaEgY3L-
zXB5bruFegPcLPYYrW905q3dpGIIzc4wVXlinrdu3plw

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sections 2510-2521. Thank you.



From: Greg Smith <gsmith@srtslaw.com>
Date: Monday, December 7, 2020 at 4:49 PM
To: <sschaetzel@mcciplaw.com>
Cc: "Matthew T. Hoots" <mhoots@srtslaw.com>
Subject: Hey man, Gregory Smith here (pleasure and biz)


Steve, trying to give you a buzz but who knows what you may be up to :)


I hope that all is going well, it has been a minute.
If you got my voice mail from Friday, basically the situation we are touching base about deals with Sweet
Water.
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We have a client that did the original artwork for Sweet Water and has the copyright for the same.
It is our understanding that Sweet Water is being purchased and so, we feel it is imperative that the
potential buyer is aware that the underlying artwork for the branding, logo and trademarks are owned
by our client. My partner, Matt Hoots is running this matter and so I am basically doing a introduction
email here so he can fill in some of the details.


But, please let us know if you are representing Sweet Water on this purchase agreement or if your
limitation is limited to prosecuting their trademarks.


Sorry we did not hook up on the phone but would love to catch up if you have a minute.


With all the very best,
Gregory Scott Smith
Smith Tempel Blaha LLC
Patents || Trademarks || Copyright || Litigation


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